             Case 2:19-cv-00239-GMS Document 48 Filed 09/25/20 Page 1 of 3



1    LAW OFFICES OF THOMAS M. CONNELLY
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6
     Attorneys for Bardwell Defendants
7

8                        IN THE UNITED STATES DISTRICT COURT
9
                                   DISTRICT OF ARIZONA
10

11
     Ronald H. Pratte,                               Case No.: 2:19-cv-00239-PHX-GMS

12                Plaintiff,

13                                                    NOTICE OF COUNSEL’S CHANGE
     vs.
                                                              OF ADDRESS
14
     Jeffrey Bardwell and Fanny F. Bardwell,
15   husband and wife,
16                Defendants.
17
           Defendants’ undersigned counsel, Thomas M. Connelly, hereby provides formal
18

19   notice of his change of address pursuant to Local Rule 83.3(d).

20         Counsel’s address is:       Law Offices of Thomas M. Connelly
21                                     6720 North Scottsdale Road
                                       Suite 305
22                                     Scottsdale, AZ 85253
23
           Please note that undersigned counsel’s phone number, fax number and email
24
     address remain the same.
25

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      Case 2:19-cv-00239-GMS Document 48 Filed 09/25/20 Page 2 of 3



1    Respectfully submitted this 25th day of September, 2020.
2

3
                           By: /s/ Thomas M. Connelly
4
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             Case 2:19-cv-00239-GMS Document 48 Filed 09/25/20 Page 3 of 3



1                                 CERTIFICATE OF SERVICE
2
            I, Thomas M. Connelly, hereby certify that on September 25, 2020, I electronically
3

4
     transmitted the foregoing document with the Clerk’s Office using the ECF system for filing

5    and transmittal of a Notice of Electronic Filing to the following ECF registrant(s) in this
6
     case and emailed a copy of this document to the following:
7
     Gregory B. Collins
8
     Daniel P. Crane
9    Eric B. Hull
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16   By: s/ Thomas M. Connelly
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